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     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4   Attorney for Gregory S. Baker
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                )
 9   UNITED STATES OF AMERICA,                  )
10             Plaintiff,                       )   Case No.: 2:12-cr-00294-MCE
                                                )
11          v.                                  )   STIPULATION AND ORDER
                                                )   REQUESTING AN EXTENSION OF
12   BART WAYNE VOLEN,                          )   TIME TO SUBMIT PROPERTY BOND
     GREGORY SCOTT BAKER, and                   )
13   DARRELL PATRICK HINZ,                      )
14            Defendants.                       )
                                                )
15                                              )
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

17   deadline to post property for the secured bond is extended to September 6, 2012. On

18   August 20, 2012, Gregory S. Baker, was arraigned on the above-entitled case before the

19   Honorable Dale A. Drozd. Mr. Baker was ordered released on a $100,000 secured by the

20   posting of property owned by Mr. Baker’s sister, Audra Baker. The Court requested the

21   posting of property be completed by September 4, 2012.

22          Audra Baker was out of state during the week of August 20, 2012 on a business

23   trip. Therefore, Defendant is requesting additional time to submit the property bond and

24   requests that the deadline to post the property is extended to September 6, 2012. Michael

25   Beckwith, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s

26   attorney, agree to this continuance.

27
28   IT IS SO STIPULATED.




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 1
     DATED: September 4, 2012                By:      /s/ Thomas A. Johnson
 2                                                    THOMAS A. JOHNSON
                                                      Attorney for Defendant
 3                                                    GREGORY S. BAKER
 4
 5
 6   DATED: September 4, 2012                         BENJAMIN WAGNER
                                                      United States Attorney
 7
                                              By:     /s/ Thomas A. Johnson for
 8                                                    MICHAEL BECKWITH
                                                      Assistant United States Attorney
 9
10   IT IS SO ORDERED.
11   DATED: September 5, 2012
12                                                   /s/ Gregory G. Hollows
13                                                  HON. GREGORY G. HOLLOWS
                                                   United States Magistrate Court Judge
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